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                                   UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                        PORTLAND DIVISION



N.W., a minor, by and through her next                       Case No. 3:24-cv-00642-YY
friend ADRIONA WHITE,
                                                             DECLARATION OF LIANI J. REEVES IN
                      Plaintiff,                             SUPPORT OF STIPULATED MOTION TO
                                                             SUSPEND DEADLINES AND FOR
        v.                                                   EXTENSION OF TIME TO FILE A
                                                             RESPONSIVE PLEADING
PORTLAND PUBLIC SCHOOLS, an
Oregon public corporate entity by and
through its Board of Directors of
Multnomah County School District No. 1J,

                      Defendant.



                   I, Liani J. Reeves, under penalty of perjury, declare and state as follows:




PAGE 1 - Declaration of Liani J. Reeves

4862-1964-4360.1                                MILLER NASH LLP
                                                     AT T ORNE Y S AT L AW
                                                T E LE P HONE : 503. 224. 5858
                                            1140 SW WA SHI NG T ON ST, STE 700
                                               P ORTL AND, OREG ON 97205
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                   1.     I am over the age of 18 and competent to testify to the matters set forth

below, of which I have personal knowledge.

                   2.     I am an attorney with Miller Nash LLP, and an attorney representing

Defendant Portland Public Schools (“PPS”) in this lawsuit. I have personal knowledge of the

facts set forth in this declaration and I make this declaration in support of the Stipulated Motion

to Suspend Deadlines and for Extension of Time to File a Responsive Pleading (the “Motion”).

                   3.     On June 17, 2024, I conferred with Plaintiff’s counsel Kevin Brague who

indicated that he stipulates to the motion.

                   4.     The current deadline for Defendant to file a responsive pleading in this

case is June 17, 2024.

                   5.     The parties have been actively engaging in settlement discussions and

reached a tentative agreement to resolve the case on June 17, 2024.

                   6.     An extension is requested so that the parties can effectuate the settlement

agreement and eventual dismissal of the case.

                   7.     This motion is made in good faith and not for purposes of delay.



                   PURSUANT TO 28 USC § 1746, I DECLARE UNDER PENALTY OF

PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

                   EXECUTED on this 17th day of June, 2024, in Portland, Oregon.



                                         s/Liani J. Reeves
                                         Liani J. Reeves, OSB No. 013904




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